        Case 20-10314-JCM                       Doc 52        Filed 05/27/25 Entered 05/27/25 13:53:28                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              JASON P. ATKIN


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          20-10314JCM




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  QUICKEN LOANS LLC FKA QUICKEN LOANS                                              4

 Last 4 digits of any number you use to identify the debtor's account                         4   7   3   5

 Property Address:                             234 E 4TH ST
                                               WATERFORD PA 16441




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        9,360.25

     b. Prepetition arrearage paid by the trustee:                                                                   (b)   $        9,360.25

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $         650.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $         650.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $            0.00

 f.       Postpetition arrearage paid by the trustee:                                                              + (f)   $            0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $      10,010.25



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee.
         Current monthly mortgage payment                                                                                  $      $1,036.66
         The next postpetition payment is due on                 7 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                           page 1
    Case 20-10314-JCM                Doc 52    Filed 05/27/25 Entered 05/27/25 13:53:28                            Desc Main
                                               Document Page 2 of 5



Debtor 1     JASON P. ATKIN                                                   Case number (if known) 20-10314JCM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor( s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor( s) have paid in full the
 amount required to cure the default and stating whether the debtor( s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    05/27/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
    Case 20-10314-JCM            Doc 52    Filed 05/27/25 Entered 05/27/25 13:53:28                          Desc Main
                                           Document Page 3 of 5



Debtor 1     JASON P. ATKIN                                             Case number (if known) 20-10314JCM
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
01/26/2022   1223350     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          817.00
03/25/2022   1229194     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          485.36
04/26/2022   1232233     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          242.83
05/25/2022   1235275     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          242.83
06/27/2022   1238299     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          242.83
07/26/2022   1241237     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          242.83
08/24/2022   1244119     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          242.83
09/27/2022   1247003     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          878.39
10/25/2022   1249802     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          216.65
11/23/2022   1252594     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          158.04
12/22/2022   1255335     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          158.04
01/26/2023   1258066     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          780.52
06/26/2023   1272015     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          775.17
07/25/2023   1274757     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          143.64
08/25/2023   1277549     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          143.64
09/26/2023   1280273     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          143.65
10/25/2023   1282981     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          758.92
11/27/2023   1285656     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          177.32
01/26/2024   1290932     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          354.31
02/26/2024   1293574     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          177.32
03/26/2024   1296229     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          177.32
04/25/2024   1298893     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          792.59
05/29/2024   1301597     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          177.32
06/25/2024   1304123     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          588.09
07/25/2024   1306734     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          242.81
                                                                                                                  9,360.25

Post Petition Claim (1305) (Part 2 (d))
01/26/2022   1223350     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          56.73
03/25/2022   1229194     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          33.71
04/26/2022   1232233     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          16.86
05/25/2022   1235275     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          16.86
06/27/2022   1238299     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          16.86
07/26/2022   1241237     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          16.86
08/24/2022   1244119     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          16.86
09/27/2022   1247003     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          61.00
10/25/2022   1249802     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          15.04
12/22/2022   1255335     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          21.96
01/26/2023   1258066     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          54.20
06/26/2023   1272015     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          53.83
08/25/2023   1277549     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          19.96
10/25/2023   1282981     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          62.67
01/26/2024   1290932     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          36.92
03/26/2024   1296229     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          24.62
04/25/2024   1298893     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          55.04
06/25/2024   1304123     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          53.16
07/25/2024   1306734     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          16.86
                                                                                                                   650.00

MORTGAGE REGULAR PAYMENT (Part 3)
09/28/2020   1173594     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                        3,557.70
10/26/2020   1176680     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          451.91
11/24/2020   1179744     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          903.73
12/21/2020   1182683     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          903.68
01/25/2021   1185680     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                        1,355.45
02/22/2021   1188799     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          903.70
03/26/2021   1192111     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                        1,354.97
04/26/2021   1195348     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          903.54
05/25/2021   1198462     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          903.68
06/25/2021   1201642     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          903.77
07/26/2021   1204844     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          930.41
08/26/2021   1207996     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                          957.03
09/24/2021   1211101     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                        1,484.67

Form 4100N                                   Notice of Final Cure Payment                                           page 3
    Case 20-10314-JCM            Doc 52    Filed 05/27/25 Entered 05/27/25 13:53:28                          Desc Main
                                           Document Page 4 of 5



Debtor 1     JASON P. ATKIN                                             Case number (if known) 20-10314JCM
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                          Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
10/25/2021   1214175     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,049.59
11/22/2021   1217208     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,090.18
12/23/2021   1220290     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,106.97
01/26/2022   1223350     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           953.14
02/23/2022   1226216     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           556.09
03/25/2022   1229194     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,243.33
04/26/2022   1232233     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           899.71
05/25/2022   1235275     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           899.71
06/27/2022   1238299     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           899.71
07/26/2022   1241237     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           899.71
08/24/2022   1244119     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           899.71
09/27/2022   1247003     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           899.71
10/25/2022   1249802     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           899.71
11/23/2022   1252594     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           962.38
12/22/2022   1255335     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           962.38
01/26/2023   1258066     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           962.38
02/23/2023   1260660     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           551.16
03/28/2023   1263444     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,102.09
04/25/2023   1266258     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,102.09
05/25/2023   1269127     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,094.18
06/26/2023   1272015     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           962.38
07/25/2023   1274757     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           962.38
08/25/2023   1277549     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           962.38
09/26/2023   1280273     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           962.38
10/25/2023   1282981     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           962.38
11/27/2023   1285656     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
12/21/2023   1288230     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           551.29
01/26/2024   1290932     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,301.45
02/26/2024   1293574     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
03/26/2024   1296229     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
04/25/2024   1298893     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
05/29/2024   1301597     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
06/25/2024   1304123     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
07/25/2024   1306734     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
08/26/2024   1309288     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
09/25/2024   1311885     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
10/25/2024   1314414     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           926.37
11/25/2024   1316981     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,001.16
12/23/2024   1319362     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,001.16
01/28/2025   1321872     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,001.16
02/25/2025   1324281     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,036.66
03/26/2025   1326782     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,036.66
04/25/2025   1329255     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                         1,792.08
05/23/2025   1331652     QUICKEN LOANS LLC FKA QUICKEN LOANS INC
                                                             AMOUNTS DISBURSED TO CREDITOR                           281.24
                                                                                                                  57,626.63




Form 4100N                                   Notice of Final Cure Payment                                            page 4
   Case 20-10314-JCM          Doc 52     Filed 05/27/25 Entered 05/27/25 13:53:28                Desc Main
                                         CERTIFICATE OF
                                         Document       SERVICE
                                                      Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

JASON P. ATKIN
234 E 4TH STREET
WATERFORD, PA 16441

REBEKA A SEELINGER ESQ
4640 WOLF RD
ERIE, PA 16505

QUICKEN LOANS LLC FKA QUICKEN LOANS INC
635 WOODWARD AVE
DETROIT, MI 48226

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




5/27/25                                                       /s/ Roberta Saunier
                                                              Administrative Assistant
                                                              Office of the Chapter 13 Trustee




Form 4100N                                  Notice of Final Cure Payment                                    page 1
